                                           Case 3:13-cv-04328-JST Document 62 Filed 06/29/15 Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        MICHAEL RIGHETTI,
                                   7                                                        Case No. 13-cv-04328-JST
                                                       Plaintiff,
                                   8
                                                v.                                          ORDER TO SHOW CAUSE WHY
                                   9                                                        DEFENDANT TAKE YOU ON
                                        UNITED SHUTTLE ALLIANCE                             VACATION, LLC SHOULD NOT BE
                                  10    TRANSPORTATION CORPORATION, et                      DISMISSED
                                        al.,
                                  11
                                                       Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          The Court has reviewed the case management statement filed by Plaintiff Michael Righetti

                                  14   in advance of the Case Management Conference scheduled for July 1, 2015. ECF No. 61.

                                  15   Plaintiff states that he has obtained a default judgment against defendant United Shuttle Alliance

                                  16   Transportation Corporation, and that he is pursuing his remedies against remaining defendant and

                                  17   dissolved limited liability company Take You On Vacation, LLC pursuant to Florida Revised

                                  18   Statutes § 605.0711. Id.

                                  19          Section 605.0711 describes a process by which Plaintiff will give notice of its claim to

                                  20   Take You On Vacation, and Take You On Vacation will then make an offer of compensation to

                                  21   Plaintiff. If Take You On Vacation does not comply with its statutory obligations, or Plaintiff

                                  22   does not like Take You On Vacation’s offer, any remedy lies in the “circuit court in the applicable

                                  23   county” in Florida state court. Fla. Stat. Ann. § 605.0711 (West).

                                  24          It seems that this Court has no role to play in the adjudication of claims under section

                                  25   605.0711. Indeed, Plaintiff acknowledges as much in his case management statement, when he

                                  26   states that “no further action [in this case] is required by this Court.” ECF No. 61 at 2.

                                  27          Because the Court cannot take any further action regarding Take You On Vacation,

                                  28   Plaintiff is ORDERED TO SHOW CAUSE why the Court should not dismiss that entity without
                                           Case 3:13-cv-04328-JST Document 62 Filed 06/29/15 Page 2 of 2




                                   1   prejudice and close the file of this case. A response to this order is due by July 10, 2015, at which

                                   2   time the Court will take the matter under submission. If no response is filed, the Court will

                                   3   dismiss Take You On Vacation without prejudice and close the file.

                                   4          The case management conference scheduled for July 1, 2015 is vacated.

                                   5          IT IS SO ORDERED.

                                   6   Dated: June 28, 2015
                                                                                        ______________________________________
                                   7
                                                                                                      JON S. TIGAR
                                   8                                                            United States District Judge

                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                         2
